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                       IN THE UNITEA STATES BANKRUPTCY CQURT
                            FQR THE DISTRICT OF DELAWARE

                                                          Chapter 11
In re:
                                                          Case No. 17-10570(BLS)
Bostwick Laboratories, Inc., et al.,l
                                                          (Jointly Administered)
                 Post-Effective Date Debtors.
                                                          Objection Deadline: September 25,2018 at 4:00 p.m.
                                                          Hearing Date: October 25,2018 at 11:00 a.m.


     CREDITORS RECEIVING THIS OMNIBUS OB3ECTION TO CLAIMS SHOULD
    LOCATE THEIR NAMES AND THEIR CLAIMS)IN THE ATTACHED EXHIBITS.

  YOUR SUBSTANTIVE RIGHTS MAY BE AFFECTED BY THIS OBJECTION AND BY
   ANY FURTHER OBJECTION THAT MAY BE FILED AGAINST YOUR CLAIM(S).


 PLAN ADMINISTRATOR'S FOURTH OMNIBUS(SUBSTANTIVE)OBJECTION TO
    CERTAIN REDUCE AND ALLOW CLAIMS AND NO LIABILITY CLAIMS

         James P. Carroll, solely in his capacity as the plan administrator (the "Plan

Administrator") for the above-captioned post-effective date debtors (the "Debtors"), hereby files

this objection (the "Objection"), pursuant to section 502 of title 11 ofthe United States Code (the

"Bankruptc~Code"), Rules 3007 and 9014 of the Federal Rules of Bankruptcy Procedure (the

"Bankruptcy Rules"), and Rule 3007-1 of the Local Rules for the United States Bankruptcy

Court for the District of Delaware (the "Local Rules"), seeking entry of the order (the "Proposed

Order"), substantially in the form attached hereto as Exhibit A,reducing and allowing the

Reduce and Allow Claims (as defined below) and disallowing and expunging the No Liability

Claims (as defined below). In support of this Objection, the Plan Administrator submits Exhibits

1 and 2 attached to the Proposed Order (collectively, the "Claims," and individually, a "Claim")

' The Post-Effective Date Debtors are the following entities (last four digits of EIN in parentheses): (i) Bostwick
Laboratories, Inc., a Delaware corporation (3169); and (ii) Bostwick Laboratories Holdings, Inc., a Delaware
corporation (1042). The current mailing address for the Post-Effective Date Debtors is James P. Carroll as the Plan
Administrator, c/o Carroll Services LLC,4450 Bonita Beach Road, Suite 9, Bonita Springs, FL 34134.
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and the DeclaNation ofJames P. CaN~oll(the "Carroll Declaration"), a copy of which is attached

hereto as Exhibit B. In further support ofthis Objection, the Plan Administrator respectfully

represents as follows:

                                      3URISDICTION AND VENUE

        1.       This Court has jurisdiction to consider this Objection pursuant to 28 U.S.C.

§§ 157 and 1334. Venue is proper before this Court pursuant to 28 U.S.C. §§ 1408 and 1409.

        2.                                                         l ~:PT~PSZZ are ?~a?~k~'>>pt~y C~'r~r1P
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Section 502, Bankruptcy Rules 3007 and 9014, and Local Rule 3007-1.

                                   PROCEDURAL BACKGROUND

        3.       On March 15, 2017(the "Petition Date"), the Debtors each filed a voluntary

petition for relief under chapter 11 ofthe Bankruptcy Code (the "Chapter 11 Cases"). The

factual background regarding the Debtors, including their business operations, their capital and

debt structures, and the events leading to the filing of the Chapter 11 Cases, is set forth in detail

in the DeclaNation ofTafnmy Hunt in Support ofChapteN 11 Petitions and First Day Pleadzngs,2

fully incorporated herein by reference.

        4.       On March 23, 2017, the United States Trustee for the District of Delaware

appointed an Official Committee of Unsecured Creditors.3 No trustee or examiner was requested

or appointed in the Chapter 11 Cases.

        5.       On July 11, 2017, the Debtors initiated a process to confirm a chapter 11 plan (as

amended, the "Plan").4 The Court entered an order on (i) August 1, 2017 approving the Debtors'




2 Dkt. No. 3.
3 Dkt. No. 84.
4 Dkt. Nos. 383, 384,449 and 547-1.
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combined chapter 11 plan and disclosure statement for solicitation purposes,s and (ii) September

15, 2017 confirming the Plan.6 The effective date ofthe Plan occurred on October 2, 2017.

        6.           The Plan Administrator was appointed under Article X ofthe Plan to, among

other things, reconcile and object to proofs of claim as necessary, complete the liquidation and

distribution ofthe Debtors' assets to creditors, and otherwise wind up the affairs of each ofthe

Debtors.$

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Entry ofan ONdeN Extending the Claims Objections Deadline and set a new claims objection

deadline under the Plan through and including September 25, 2018.9

         8.          On May 10, 2018, the Court granted the Plan AdministNator's First Omnibus

(Non-Szsbstantive) Objection to Certain (A)Duplicate and(B)Amended and Superseded

Claims.~°

         9.          On May 29, 2018, the Court granted the Plan AdministNator's Second Omnibus

(Substantive) Objection to Certain (A) Misclassified Claim,(B) No Liability Claims,(C)
                                                        Claims.l 1
Superseded Clai~ns and(D)Reduce and Allow

                                            APPLICABLE AUTHORITY

         10.         When asserting a proof of claim against a bankrupt estate, a claimant must allege

facts that, if true, would support a finding that the debtor is legally liable to the claimant. In re

Allegheny Intl, Inc., 954 F.2d 167, 173(3d Cir. 1992). Where the claimant alleges sufficient

5 Dkt. No. 446.
~ Dkt. No. 547.
 Dkt. No. 560.
~ Plan, at Art. X.
~ Dkt. No. 646.
Io Dkt. No. 654.
11 Dkt. No. 661.

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facts to support its claim, its claim is afforded prima facie validity. Id. A party wishing to

dispute a claim's validity must produce sufficient evidence to negate the claim's prima facie

validity. Id. Once an objecting party produces such evidence, the burden shifts back to the

claimant to prove the validity of his or her claim by a preponderance of the evidence. Id. at 174.

The burden of persuasion is always on the claimant. Id.

                                          RELIEF REQUESTED

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Exhibits 1 and 2 attached to the Proposed Order and, for the reasons described below, seeks entry

ofthe Proposed Order, pursuant to Bankruptcy Code section 502, Rules 3007 and 9014 ofthe

Bankruptcy Rules, and Local Rule 3007-1, reducing and allowing or disallowing and expunging,

as applicable, each ofthe respective Claims as set forth below.

A.      Reduce and Allow Claims

        12.      The Plan Administrator has identified the Claims listed on Exhibit 1 attached to

the Proposed Order and has determined that such Claims should be reduced and allowed

pursuant to the Debtors' books and records (collectively, the "Reduce and Allow Claims").

More specifically, and as explained further in the column labeled "Reason for Modification" on

Exhibit 1 attached to the Proposed Order, the Plan Administrator believes that the Reduce and

Allow Claims should be reduced and allowed because:(i) the books and records indicate a

different amount of liability owed by any ofthe Debtors,(ii) certain claims have been partially

paid to the claimant since the applicable proof of claim filing, and/or (iii) such claim amounts are

not enforceable against the Debtors or their property under any agreement or applicable law.




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        13.      Accordingly, the Reduce and Allow Claims should be reduced and allowed in the

amounts as set forth under the heading labeled "Modified Claim Amount" in Exhibit 1 attached

to the Proposed Order.

B.      No Liability Claims

        14.      Section 502(b)(1) ofthe Bankruptcy Code provides that a claim asserted in a

proof of claim shall be allowed, except to the extent "such claim is unenforceable against the

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502(b)(1).

        15.      The Plan Administrator has identified that certain Claims listed on Exhibit 2

attached to the Proposed Order that are unreconcilable with the Debtors' books and records (the

"No Liability Claims"). More specifically,and as explained further in the column labeled

"Reason for Disallowance" on Exhibit 2, the Plan Administrator believes that the No Liability

Claims are invalid because:(i) the estates' books and records do not reflect a liability or there is

a scheduled liability of zero due and owing by any Debtor with respect to such claims, and/or (ii)

the No Liability Claims are not enforceable against the Debtors or their property under any

agreement or applicable law.

        16.      Accordingly, the Plan Administrator objects to the No Liability Claims and seeks

entry of the Proposed Order disallowing and expunging such claims, subject to the Debtors'

further objections on any other grounds to such claims.

                             SEPARATE CONTESTED MATTERS

          17.    To the extent that a Response (as defined below)is filed regarding any of the

Claims that are the subject of this Objection and-the Plan Administrator is unable to resolve such     -   --

Response, each such Claim, and the Objection to each such Claim as asserted herein, shall


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constitute a separate contested matter as contemplated by Bankruptcy Rule 9014. Any order

entered by the Court regarding any Claim that is subject to this Objection shall be deemed a

separate order with respect to such claim.

                                 RESPONSES TO OMNIBUS OBJECTION

         18.        To contest an objection, a claimant must file and serve a written response to this

Objection (a "Response") so that it is received by the Court and counsel for the Plan

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Every Response must be filed with the Office of the Clerk of the United States Bankruptcy Court

for the District of Delaware at 824 Market Street, 3rd Floor, Wilmington, Delaware 19801, and

served upon the following, so that the Response is received no later than the Response Deadline

at the following addresses:

Colin R. Robinson                                               Malani J. Cademartori (admitted pro hac vice)
Pachulski Stang Ziehl &Jones LLP                                Sheppard, Mullin, Richter &Hampton LLP
919 North Market Street, 17th Floor                             30 Rockefeller Plaza
1313 N. Market Street                                           New York, New York 10112
Wilmington, Delaware 19899-8705                                 Telephone:(212)653-8700
Telephone:(302) 778-6426                                        Facsimile:(212)653-8701
Facsimile:(302)652-4400                                         Email: mcademartori@sheppardmullin.com
Email: crobinson@pszjlaw.com

         19.        Every Response to this Objection must contain at a minimum the following

information:

               a. A caption setting forth the name of the Court, the name ofthe Debtors, the
                  case number, and the title of the Objection to which the Response is directed;

               b. The name ofthe claimant, his/her/its claim number;

               c. The specific factual basis and supporting legal argument upon which the claimant
                  will rely in opposing this Objection;

               d. Any supporting documentation, to the extent it is not included in the proof of
                  claim previously filed with the claims agent, upon which the claimant will rely in
                  order to support the basis for and amounts asserted in the proof of claim; and



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              e. The name, address, telephone number, and fax number of the persons)(which
                 must be the claimant or the claimant's legal representative) with whom counsel
                 for the Plan Administrator should communicate with respect to the Claim or the
                 Objection and who possess authority to reconcile, settle, or otherwise resolve the
                 objection to the disputed Claim on behalf of the claimant.

                                    REPLIES TO RESPONSES

       20.       Consistent with Local Rule 9006-1(d), the Plan Administrator may, at his option,

file and serve a reply to a claimant's response, if any, no later than 4:00 p.m.(prevailing eastern

time) one day prior to the deadline for filing the agenda to consider this Objection.

                                   RESERVATION OF RIGHTS

        21.       The Plan Administrator hereby reserves the right to assert additional objections in

the future to any of the proofs of claim and/or Claims identified in this Objection or on Exhibits

1 and 2 attached to the Proposed Order on any ground, and to amend, modify, and/or supplement

this Objection, including, without limitation, to object to amended or newly-filed claims. A

separate hearing will be scheduled on any subsequently filed objection.

                            COMPLIANCE WITH LOCAL RULE 3007-1

        22.       To the best ofthe knowledge and belief of the undersigned counsel for the Plan

Administrator, this Objection and the related Exhibits A and B comply with Local Rule 3007-1.

To the extent that this Objection does not comply in all respects with the requirements of Local

Rule 3007-1, the undersigned believes such deviations are not material and respectfully requests

that any such requirement be waived.

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        WHEREFORE,the Plan Administrator respectfully requests that the Court(a) enter an

order granting the relief requested herein, substantially in the form ofthe Proposed Order

attached hereto as Exhibit A; and(b) grant such other and further relief to the Debtors as the

Court may deem just and proper.

Dated: September 11, 2018                   PACHULSKI STANG ZIEHL &JONES LLP
       Wilmington, Delaware
                                           /s/ Colin R. Robinson
                                           Colin R. Robinson(DE Bar No. 5524)
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                                           P.O. Box 8705
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                                            - and -

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